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                           IN THE UNITED STATES DISTRICT COURT
                            FOR SOUTHERN DISTRICT OF FLORIDA

                                    CASE NO. 1:18-cv-23992-JEM

   COMMODITY FUTURES TRADING
   COMMISSION,

                                 Plaintiff,

                         v.

   TIMOTHY JOSEPH ATKINSON, JAY
   PASSERINO, ALL IN PUBLISHING, LLC,
   & GASHER, INC.,

                           Defendants.
   _________________________________________/

   ORDER GRANTING RECEIVER’S UNOPPOSED FOURTH INTERIM APPLICATION
      FOR AN ORDER APPROVING AND AUTHORIZING PAYMENT OF FEES
           AND EXPENSES OF RECEIVER AND HER PROFESSIONALS

          THIS CAUSE came before the Court upon the Receiver’s Unopposed Fourth Interim

   Application For An Order Approving and Authorizing Payment of Fees and Expenses of Receiver

   and Her Professionals (the “Application”) [ECF No. ____]. The Court, having reviewed the

   Application, noting that the fees and costs requested therein are reasonable, necessary and

   commensurate with the skills and experience required for the activities performed and described

   therein, and that no objection to the Application has been filed, and otherwise being fully advised

   in the matter, finds good cause to approve the Application and grant the relief requested therein.

          Accordingly, it is -

          ORDERED as follows:

                  1.     The Application is APPROVED.
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             A. AIP-Related Work

                    2.      The total amount of fees and costs that the Receiver1 and her Lead Counsel,

             Damian & Valori LLP, incurred regarding work performed fulfilling the Receiver’s duties

             with respect to the AIP Defendants during the Application Period in the amount of

             $70,435.55 is hereby APPROVED.

                    3.      The Receiver is AUTHORIZED to pay the Receiver and her Lead Counsel,

             Damian & Valori LLP, the amount of $70,435.55 (which total includes $67,716.50 in fees

             and $2,719.05 in costs) for work performed fulfilling the Receiver’s duties in relation to

             the AIP Defendants, to be paid immediately from the Receiver’s AIP fiduciary account.

                    4.      The total amount of fees and costs that the Receiver’s Forensic Accountants,

             Kapila Mukamal, LLP, incurred regarding work performed fulfilling the Receiver’s duties

             with respect to the AIP Defendants during the Application Period in the amount of

             $3,267.83 is hereby APPROVED.

                    5.      The Receiver is AUTHORIZED to pay to her Forensic Accountants,

             Kapila Mukamal, LLP, the amount of $3,267.83 (which total includes $3,209.00 in fees

             and $58.83 in costs) for work performed fulfilling the Receiver’s duties in relation to the

             AIP Defendants, to be paid immediately from the Receiver’s AIP fiduciary account.

             B. Gasher-Related Work

                    6.      The total amount of fees and costs that the Receiver and her Lead Counsel,

             Damian & Valori LLP, incurred regarding work performed fulfilling the Receiver’s duties

             with respect to the Gasher Defendants during the Application Period in the amount of

             $10,624.15 is hereby APPROVED.




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       Capitalized terms not defined herein shall have the same ascribed meaning as in the Application.
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                7.      The Receiver is AUTHORIZED to pay the Receiver and her Lead Counsel,

         Damian & Valori LLP, the amount of $10,624.15 (which total includes $10,622.50 in fees

         and $1.65 in costs) for work performed fulfilling the Receiver’s duties in relation to the

         Gasher Defendants, to be paid immediately from the Receiver’s Gasher fiduciary account.

                8.      The total amount of fees and costs that the Receiver’s Forensic Accountants,

         Kapila Mukamal, LLP, incurred regarding work performed fulfilling the Receiver’s duties

         with respect to the Gasher Defendants during the Application Period in the amount of

         $4,179.05 is hereby APPROVED.

                9.      The Receiver is AUTHORIZED to pay to her Forensic Accountants,

         Kapila Mukamal, LLP, the amount of $4,179.05 (which total includes $4,120.00 in fees

         and $59.05 in costs) for work performed fulfilling the Receiver’s duties in relation to the

         Gasher Defendants, to be paid immediately from the Receiver’s Gasher fiduciary account.

         C. General Receivership Matters

                10.     The total amount of fees and costs that the Receiver and her Lead Counsel,

         Damian & Valori LLP, incurred regarding work performed fulfilling the Receiver’s duties

         with respect to the General Receivership Matters during the Application Period in the

         amount of $12,531.70 is hereby APPROVED.

                11.     The Receiver is AUTHORIZED to pay the Receiver and her Lead Counsel,

         Damian & Valori LLP, the amount of $12,531.70 (which total includes $12,521.50 in fees

         and $10.20 in costs) for work performed fulfilling the Receiver’s duties in relation to

         General Receivership Matters, $6,265.85 to be paid immediately from the Receiver’s AIP

         fiduciary account and $6,265.85 to be paid immediately from the Receiver’s Gasher

         fiduciary account.
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                 12.     The Court reserves final approval of all fees approved herein until such time

          as the Receiver is discharged of her duties in this matter and/or final disbursement of funds

          held by the Estate.

          DONE AND ORDERED at Miami, Florida, this ____ day of ___________, 2020.



                                                ________________________________
                                                The Honorable Jose E. Martinez
                                                United States District Judge



   Copies to:    All Counsel of Record
